  Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 1 of 35 PageID #:2678




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


  IN RE SURESCRIPTS ANTITRUST
  LITIGATION                                        No. 19-cv-06627

  This Document Relates To:                         Judge John J. Tharp, Jr.
  All Class Actions


                          MEMORANDUM OPINION AND ORDER

       Plaintiffs, nine community pharmacies seeking to represent a putative class, assert that the

defendants have conspired to monopolize and restrain trade in the market for e-prescribing

services. The defendants are Surescripts, LLC and Allscripts Healthcare Solutions, Inc., two health

information technology companies. Both have moved to dismiss the Second Amended

Consolidated Class Action Complaint, ECF No. 147 (“SAC”), for failure to state a claim upon

which relief may be granted.

       The defendants first argue the plaintiffs’ claims under the Sherman Act are barred by the

direct purchaser rule set forth in Illinois Brick Co. v. Illinois, 431 U.S. 720 (1977). In the present

posture of this case, however, that argument is premature. Even if Illinois Brick does bar the

plaintiffs’ claims under federal law, the plaintiffs also assert various state law theories to which

Illinois Brick is not an impediment. Because relief may be granted as to the claims alleged in the

SAC regardless of Illinois Brick, there is no basis to dismiss the claims under Rule 12(b)(6). Rule

12(b)(6) authorizes the dismissal of claims, not legal theories.

       As for the merit of the plaintiffs’ claims, which center on the defendants’ use of loyalty

pricing agreements, the defendants argue such agreements are legal in accordance with the price-

cost test. That test is inapposite. The apt test is the rule of reason, and under it, the complaint
    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 2 of 35 PageID #:2679




plausibly paints the agreements as illegal, de facto exclusive deals. The complaint also plausibly

suggests the defendants entered into conspiracies to monopolize and restrain trade based on the

alleged contracts between them. Accordingly, the defendants’ motions to dismiss are denied.

                                         BACKGROUND

        This antitrust action concerns the market for e-prescribing services. E-prescribing refers to

the computer-based electronic transmission of prescription information from a doctor to a

pharmacy. 1 It became legal nationwide in 2007 and has since expanded dramatically. Between

2008 and 2017, the per annum e-prescribing transaction rate increased from 70 million to over 1.7

billion. SAC ¶ 3. By 2017, 77% of all prescriptions were being delivered electronically. Id. ¶ 41.

        Defendant Surescripts, LLC is the nation’s largest provider of e-prescribing services. The

plaintiffs are nine pharmacies (the “Pharmacies”) that pay fees to receive prescriptions via

Surescripts’ e-prescribing network. They allege Surescripts has maintained a “95% share, by

transaction volume,” of the e-prescribing industry, leaving them “no commercially reasonable

[eဩprescribing] alternative.” Id. ¶ 3. “[A]s as a result, Surescripts has been able to charge

pharmacies supracompetitive prices for almost ten years.” Id. Specifically, the Pharmacies say they

have paid roughly seventeen cents per e-prescribing transaction, yet prices in a competitive market

should be no more than three cents. Id. ¶ 10. Given the annual volume of e-prescribing




                                
        1
          Within the industry, this service is known as “routing.” The term e-prescribing also
encompasses a separate but interrelated service known as “eligibility.” Eligibility involves the
electronic transmission of a patient’s benefit information from the patient’s health insurer to a
doctor. It is discussed briefly in part V; but save for this exception, e-prescribing, as used here,
refers only to the routing market. This Opinion also uses the term doctor as shorthand for any
medical professional authorized to issue prescriptions or any intermediary acting on a prescriber’s
behalf to facilitate an e-prescribing transaction, such as providers of electronic health records
software.

                                                 2

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 3 of 35 PageID #:2680




transactions, this overcharge totals in the millions for the Pharmacies and the class they seek to

represent. Id. ¶ 12.

        The Pharmacies contend that Surescripts has been able to exclude e-prescribing

competitors and sustain supracompetitive prices through illegal monopolization. They primarily

point to three features of Surescripts’ business to explain how Surescripts has illegally obtained

and maintained a monopoly.

        The first is the two-sided nature of the e-prescribing market itself. Broadly speaking, a two-

sided market is one in which two sets of agents interact through an intermediary and the decisions

of one affect the other. Here, an e-prescribing network serves as the intermediary between doctors

and pharmacies, and each side’s decision to use a particular network is affected in part by how

many on the other side have chosen to do the same. It creates an issue of multi-party coordination—

or what is referred to as “the chicken and the egg” problem—for any e-prescribing firm looking to

enter the market. Id. ¶ 44. An e-prescribing firm cannot attract doctors to its network unless it first

attracts pharmacies, but it cannot attract pharmacies unless is first attracts doctors. This creates a

natural barrier to entry for nascent competitors because the value of a network to each side of the

market is dependent on the number of connections the network can facilitate. For the same reason,

this market dynamic also naturally advantages any established firm.

        Second, the Pharmacies allege that Surescripts was able to partially solve this “chicken and

egg” problem using illegal non-compete and exclusive dealing agreements. In the early years of

the e-prescribing boom, they allege Surescripts formed contractual relationships with two fellow

health information technology companies: RelayHealth and Defendant Allscripts. 2 These

                                
        2
          RelayHealth was named as a defendant in the original complaint but has settled the claims
against it and is no longer a party. This Court approved the settlement on February 24, 2022. Order,
ECF No. 202.

                                                  3

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 4 of 35 PageID #:2681




companies were operating in adjacent markets involving the electronic transmission of patient

health insurance information and thus had already established multi-party connections among a

significant volume of doctors and pharmacies. Surescripts’ contracts with RelayHealth and

Allscripts (discussed further in parts III and V) ensured each would not compete with Surescripts

in the e-prescribing market in exchange for a share of the incentives earned from and fees paid to

Surescripts by RelayHealth’s and Allscripts’ respective customer bases. Additionally, the contracts

compelled RelayHealth and Allscripts (either through express requirements or additional monetary

incentives) to sign their customer bases onto Surescripts’ loyalty pricing agreement—an agreement

the Pharmacies paint as an illegal exclusive deal. In the case of Allscripts, the contract also

expressly forbade Allscripts’ doctor clientele from dealing with one of Surescripts’ emergent

market threats, Emdeon. In sum, the agreements with RelayHealth and Allscripts helped

Surescripts mollify potential competitors and secure a dominant number of multi-party

connections within the e-prescribing market; connections Surescripts then made exclusive through

its loyalty pricing scheme.

        The alleged loyalty pricing scheme is the third central feature on which the Pharmacies’

anticompetitive allegations are based. As pled, that scheme (discussed further in part II) uses long-

term exclusivity commitments to bifurcate both sides of the e-prescribing market into loyal and

non-loyal Surescripts customers. Any doctor who opts into the loyalty program is given a bonus

incentive payment for every e-prescribing transaction on the condition they limit themselves to

only using Surescripts’ e-prescribing network; likewise, on the same condition, pharmacies who

opt-in pay a discounted price. Importantly, however, all bonuses and discounts a doctor or

pharmacy receives throughout the term of their exclusivity commitment must be returned as soon




                                                 4

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 5 of 35 PageID #:2682




as they begin using a competitor’s network. 3 The Pharmacies say this “clawback” provision

operates like a penalty on disloyal customers. Id. ¶ 128. Those customers also must forgo bonuses

or discounts on future transactions. The rub, however, is that given Surescripts’ dominant market

share, few customers are able to satisfy their e-prescribing needs without using Surescripts to some

extent. Thus, the differential between Surescripts’ loyalty rate and its non-loyalty rate, which a

disloyal customer would incur on every Surescripts transaction it might still need, acts as a second

penalty for using a competitor’s network. The Pharmacies claim it is simply impossible for a

would-be Surescripts competitor to offer low enough prices to offset both penalties—i.e., the

retroactive clawback and the prospective rate differential—even though Surescripts’ loyalty rate

(inclusive of the bonuses and discounts) is worse than what a competitor may offer. The ultimate

result, the Pharmacies say, is that alternative e-prescribing networks are not viable because no

competitor can convince enough customers on both sides of the market to break from Surescripts.

This, they assert, leaves Surescripts free to charge supracompetitive prices.

        Following a similar complaint filed in 2019 by the Federal Trade Commission in the United

States District for the District of Columbia, the Pharmacies brought suit here seeking damages and

injunctive relief pursuant to sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15(a), 26. They

assert claims of monopolization and conspiracy to monopolize under section 2 of the Sherman

Act, id. § 2, and two claims under section 1, id. § 1, for conspiracies in restraint of trade. They also

reassert these claims under thirty different state antitrust statutes. 4 Both defendants have moved to

                            
        3
          Although this exclusivity requirement is often absolute, some Surescripts loyalty
agreements allow customers to use a competitor network for up to 10% of their e-prescribing
transactions. See SAC ¶¶ 85–89.
        4
         The Pharmacies invoke the following state antitrust laws: Ariz. Rev. Stat. §§ 44-1402–
03; Cal. Bus. & Prof. Code §§ 16700, 17200, et seq.; Conn. Gen. Stat. §§ 35-26–27; D.C. Code
§§ 28-4502–03; Fla. Stat. § 501.204; 740 Ill. Comp. Stat. 10/3; Iowa Code §§ 553.4–5; Kan. Stat.
Ann. § 50-112; Me. Stat. tit. 10 §§ 1101–02; Md. Code Ann., Com. Law § 11-204; Mich. Comp.
                                                   5

     Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 6 of 35 PageID #:2683




dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6). They argue the Pharmacies’

complaint is barred by the direct purchaser rule set forth in Illinois Brick Co. v. Illinois, 431 U.S.

720 (1977), and also attack the sufficiency of the complaint on its merits. This Court holds the

Illinois Brick argument to be premature and the complaint to be sufficient.

                                           DISCUSSION

         A motion to dismiss under Rule 12(b)(6) challenges the sufficiency of the complaint.

Hallinan v. Fraternal Ord. of Police of Chi. Lodge No. 7, 570 F.3d 811, 820 (7th Cir. 2009). To

survive such a motion, “a complaint must contain sufficient factual matter, accepted as true, to

‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim “has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. In ruling on a motion to

dismiss under Rule 12(b)(6), a court must construe all factual allegations as true and draw all

reasonable inferences in the plaintiff’s favor, but the court need not accept legal conclusions or

conclusory allegations. Id. at 680–82.

I.       Illinois Brick

         The defendants lead with the argument that the federal claims should be dismissed because

the SAC fails to allege that the Pharmacies are direct purchasers and therefore lack antitrust

standing under the Illinois Brick doctrine. In Illinois Brick Co. v. Illinois, 431 U.S. 720, 729 (1977),

                              
Laws §§ 445.772–73; Minn. Stat. §§ 325D.51–52; Miss. Code Ann. § 75-21-3; Mo. Rev. Stat.
§ 416.031; Mont. Code Ann. § 30-14-205; Neb. Rev. Stat. §§ 59-801–02; Nev. Rev. Stat.
§ 598A.060; N.H. Rev. Stat. Ann. § 356:2–3; N.M. Stat. Ann. §§ 57-1-1–2; N.Y. Gen. Bus. Law
§ 340; N.C. Gen. Stat. §§ 75-1, 2.1; N.D. Cent. Code §§ 51-08.1-02–03; Or. Rev. Stat. §§ 646.725,
730; R.I. Gen. Laws §§ 6-36-4–5; S.D. Codified Laws §§ 37-1-3.1–2; Tenn. Code Ann. § 47-25-
101; Utah Code Ann. § 76-10-3104; Vt. Stat. Ann. tit. 9, § 2453; W. Va. Code §§ 47-18-3–4; Wis.
Stat. § 133.03.

                                                   6

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 7 of 35 PageID #:2684




the Supreme Court held that only an “overcharged direct purchaser, and not others in the chain of

manufacture or distribution,” may bring a claim for damages under the Clayton Act, 15 U.S.C.

§ 15(a). See also Apple Inc. v. Pepper, 139 S. Ct. 1514, 1520 (2019) (“Illinois Brick established a

bright-line rule that authorizes suits by direct purchasers but bars suits by indirect purchasers.”).

This rule is often referred to as a component of “antitrust standing,” although it is not jurisdictional.

Loeb Indus., Inc. v. Sumitomo Corp., 306 F.3d 469, 480–81 (7th Cir. 2002).

        The Seventh Circuit has recognized an exception to the direct purchaser rule for

conspiracies: If manufacturers and distributers have entered into a conspiracy that makes an

otherwise indirect purchaser the “first innocent purchaser,” Illinois Brick will not bar the claim, as

the “first buyer from a conspirator is the right party to sue.” Paper Sys. Inc. v. Nippon Paper Indus.

Co., 281 F.3d 629, 631 (7th Cir. 2002). This “exception,” as it is often described, “is not so much

a real exception as it is a way of determining which firm, or group of firms collectively, should be

considered to be the relevant seller (and from that, identifying which one is the direct

purchaser) . . . .” Marion Healthcare, LLC v. Becton Dickinson & Co., 952 F.3d 832, 839 (7th Cir.

2020). Hence, at its most basic, even when considering a conspiracy, the Illinois Brick inquiry is

one that “requires the court to identify which entity is the seller and which the direct purchaser.”

Id. at 838.

        This Court dismissed the Pharmacies’ First Amended Consolidated Class Action

Complaint (“FAC”) because it did not reasonably permit such identification. In it, the Pharmacies

vaguely alleged that pharmacy technology vendors (PTVs)—firms that provide the software

interface necessary for pharmacies to connect to e-prescribing networks—acted as intermediaries

between themselves and Surescripts. The Pharmacies did not, however, allege any details about

their relationships with the PTVs nor did they allege that they purchased e-prescribing services



                                                   7

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 8 of 35 PageID #:2685




directly from Surescripts. In re Surescripts Antitrust Litig., No. 19-cv-06627, 2020 WL 4905692,

at *4 (N.D. Ill. Aug. 19, 2020). Because this left the Court without any plausible way to answer

the Illinois Brick inquiry, the FAC was dismissed without prejudice. Id. at *6.

        The SAC adds considerable detail as to the Pharmacies’ relationships with the PTVs. See

SAC ¶¶ 15–23, 27–29, 51–66, 93–100. It also adds detail in support of the Pharmacies’ argument

that the PTVs are Surescripts’ co-conspirators. See id. ¶¶ 67–92. Nonetheless, the defendants

contend the complaint is still insufficient to meet Illinois Brick’s mandate. But while this inquiry

was indispensable for judging the sufficiency of the FAC, which invoked only federal law in

support of its claims,5 it would be premature to address application of the rule to the claims set

forth in the SAC. That is because the Pharmacies now also invoke state law theories of relief that

are ostensibly indifferent to direct purchaser status, making resolution of the defendants’ Illinois

Brick argument superfluous to the question of whether the SAC plausibly sets forth claims upon

which relief can be granted. 6

        The FAC asserted only four counts. Those counts corresponded to the Pharmacies’ four

claims for damages under section 4 of the Clayton Act. Along with adding details about the PTVs,

the SAC adds five new counts—four that reassert the Pharmacies’ claims for damages under the

laws of thirty state antitrust statutes and one seeking an injunction under section 16 of the Clayton


                                
        5
          There is no requirement to identify in the complaint the legal theories that purportedly
support the claims set forth. Reeves ex rel. Reeves v. Jewel Food Stores, Inc., 759 F.3d 698, 701
(7th Cir. 2014). The plaintiffs did so in the FAC, however, declaring that “this is an action under
Sections 1 and 2 of the Sherman Act . . . .” Consol. Class Action Compl. ¶ 1, ECF No. 52.
Consequently, the sufficiency of claims asserted in the FAC was assessed solely by reference to
federal law; the plaintiffs did not attempt to argue that the claims were adequately alleged under
state law theories.
        6
         The defendants do not argue that the direct purchaser rule of Illinois Brick bars antitrust
claims under any of the relevant state laws. Accordingly, the Court eschews any state-by-state
analysis of whether the direct purchaser rule applies.

                                                 8

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 9 of 35 PageID #:2686




Act, 15 U.S.C. § 26. These new counts do not reflect the addition of any new claims, but they do

add theories of relief which are not dependent on direct purchaser status.

        In deferring resolution of the dispute as to the Pharmacies’ status as direct purchasers, the

Court heeds the important distinction between “claims” and “counts.” Claims “explain the

plaintiff’s grievance and demand relief,” while counts “describe legal theories by which those facts

purportedly give rise to liability and damages.” Volling v. Antioch Rescue Squad, 999 F. Supp. 2d

991, 996 (N.D. Ill. 2013). Pleading in counts is not required unless “doing so would promote

clarity” as to “each claim founded on a separate transaction or occurrence.” Fed. R. Civ. P. 10(b)

(emphasis added). When presented with a motion to dismiss pursuant to Rule 12(b)(6), courts have

the authority to dismiss deficient claims, but cannot dismiss legal theories. Fed. R. Civ. P. 12(b)(6);

BBL, Inc. v. City of Angola, 809 F.3d 317, 325 (7th Cir. 2015) (“A motion to dismiss under Rule

12(b)(6) doesn’t permit piecemeal dismissals of parts of claims; the question at this stage is simply

whether the complaint includes factual allegations that state a plausible claim for relief.”)

(emphasis in original). As long as a discernable legal theory plausibly provides a remedy for a

claim, a motion to dismiss that claim must be denied, even if the complaint sets forth a host of

alternative theories that fail. See Sojka v. Bovis Lend Lease, Inc., 686 F.3d 394, 399 (7th Cir. 2012)

(“One claim supported by multiple theories does not somehow become multiple claims.”).

“[D]ifferent legal theories . . . do not multiply the number of claims for relief.” NAACP v. Am.

Family Mut. Ins. Co., 978 F.2d 287, 292 (7th Cir. 1992).

        Here, the defendants concede that the Pharmacies’ federal law counts and state law counts

are predicated on the same substantive claims. Surescripts Mem. in Supp. of Mot. to Dismiss 16

n.5, ECF No. 165 (“S-MTD”); Allscripts Mem. in Supp. of Mot. to Dismiss 6 n.6, ECF No. 162

(“A-MTD”). They also concede that Illinois Brick is not an impediment under these various state



                                                  9

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 10 of 35 PageID #:2687




laws. See S-MTD at 1; A-MTD at 13 n.8. But see S-MTD at 28 (discussing partial Illinois Brick-

based limitations applicable in Connecticut, Illinois, Maryland, and Rhode Island); A-MTD at

13 n.7 (same). Therefore, even if Illinois Brick were to bar monetary relief under federal law, that

would not justify the dismissal of any claim that is plausibly stated under a legal theory to which

Illinois Brick does not apply. 7 The bottom line is that the plaintiffs’ claims do not turn on whether

Illinois Brick applies, and Rule 12(b)(6) does not authorize this Court to dismiss the Pharmacies’

federal law theories of relief in piecemeal fashion. 8 Given the viability of other theories that apply

regardless of whether the Pharmacies qualify as direct purchasers, the Pharmacies’ claims survive.

We turn, then, to the question of whether the allegations of the SAC plausibly state claims upon

which relief can be granted.

                                
        7
          Also of note, the Pharmacies here seek both damages and an injunction, but Illinois Brick
only applies to suits for damages. See U.S. Gypsum Co. v. Ind. Gas Co., 350 F.3d 623, 627 (7th
Cir. 2003) (“[T]he direct-purchaser doctrine does not foreclose equitable relief . . . .”). But see
Apple Inc. v. Pepper, 139 S. Ct. 1514, 1520 n.1 (2019) (implying that the question of whether
Illinois Brick applies to actions for injunctive relief is unsettled); but see also Pepper, 139 S. Ct.
at 1527 n.1 (Gorsuch, J., dissenting) (“[I]t’s hard to make sense of the suggestion that Illinois Brick
may not apply to claims for injunctive relief.”). The defendants do not address the Pharmacies’
claim for injunctive relief.
        8
          The same can be said for the defendants’ miscellaneous state law arguments. They simply
address various state law theories of relief in piecemeal fashion and—even if accepted—would
not foreclose any claim. See S-MTD at 27–30. The one exception to this is Surescripts’ argument
that the Pharmacies cannot pursue their claims under the laws of states within which no named
plaintiff does business. Surescripts contends that “[i]n a putative class action, where the class has
not been certified, some named plaintiff must actually possess the requisite Article III standing; it
is not sufficient that an absent putative class member may have standing to press one of the claims.”
Id. at 26. Not so. “Although courts . . . have held that claims brought under the laws of the states
in which no named plaintiff purchased goods must be dismissed for lack of Article III standing,
the trend has been to treat the issue as one of statutory standing that can be deferred until class
certification.” In re Dealer Mgmt. Sys. Antitrust Litig., 362 F. Supp. 3d 510, 548 (N.D. Ill. 2019)
(cleaned up; citations omitted). As Judge Dow observed, “[t]his trend is consistent with recent
Seventh Circuit caselaw holding that ‘the question of who is authorized to bring an action under a
statute is one of statutory interpretation; it does not implicate Article III or jurisdiction.’” Id.
(quoting Woodman’s Food Market, Inc. v. Clorox Co., 833 F.3d 743, 750 (7th Cir. 2016)).
Dismissal of state law “claims” at this juncture for lack of Article III standing is therefore not
warranted.

                                                  10

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 11 of 35 PageID #:2688




II.     Monopolization (Surescripts)

        Section 2 of the Sherman Act makes it unlawful to “monopolize any part of the trade or

commerce among the several States . . . .” 15 U.S.C. § 2. 9 Neither the mere possession nor the

pursuit of monopoly power runs afoul of this offense; monopoly power must be abused or

improperly obtained to warrant sanction. Verizon Commc’ns Inc. v. L. Offs. of Curtis V. Trinko,

LLP, 540 U.S. 398, 407 (2004); see also id. (viewing the lure of monopoly power as “an important

element of the free-market system” which incentivizes risk taking and “produces innovation and

economic growth”). Thus, a firm is only found in violation of section 2 when it (1) possesses

“monopoly power in the relevant market” and (2) engages in “the willful acquisition or

maintenance of that power as distinguished from growth or development as a consequence of a

superior product, business acumen, or historic accident.” United States v. Grinnell Corp., 384 U.S.

563, 570–71 (1966). Surescripts does not contest the Pharmacies’ allegations that it has attained

monopoly power within the e-prescribing market. It argues only that the Pharmacies’ allegations

fail to plausibly suggest such power was acquired or maintained willfully.

        Various formulations exist for what constitutes “the willful acquisition or maintenance” of

monopoly power, but all generally focus on whether a defendant has used exclusionary practices

in anticompetitive ways. See, e.g., Spectrum Sports, Inc. v. McQuillan, 506 U.S. 447, 458 (1993)

(asking whether conduct “unfairly tends to destroy competition”); Eastman Kodak Co. v. Image

Tech. Servs., Inc., 504 U.S. 451, 483 (1992) (asking whether “valid business reasons” can explain

the defendant’s conduct); Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S. 585, 605 (1985)



                                
        9
         Putting aside the Illinois Brick issue, the state laws applicable to the Pharmacies’ claims
are consistent with federal antitrust law. See App. A to S-MTD 1–4, ECF No. 165-1 (collecting
authority). Accordingly, the Court addresses the viability of the claims by reference to the Sherman
Act.

                                                11

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 12 of 35 PageID #:2689




(asking whether a defendant was “attempting to exclude rivals on some basis other than efficiency”

in light of its conduct’s effects on itself, smaller rivals, and consumers). Within this general

understanding, distinct analytical frameworks are used to assess different categories of

anticompetitive conduct. See Viamedia, Inc. v. Comcast Corp., 951 F.3d 429, 453 (7th Cir. 2020)

(“Conduct that can harm competition may fit into more than one of these court-devised

categories.”). The parties differ as to the appropriate framework to evaluate the conduct at issue in

this case. Surescripts urges the Court to apply the predatory pricing analysis (i.e., the “price-cost

test”); the Pharmacies prefer the “rule of reason” analysis employed in the context of exclusive

dealing agreements. The Court agrees with the Pharmacies that the alleged conduct at issue is

better understood as a form of exclusive dealing.

        A.     Predatory Pricing

        Predatory pricing is an anticompetitive tactic whereby a would-be monopolist deliberately

operates with negative net profit margins, reducing prices until rivals are driven from the market,

and then reinflates prices to recoup its losses after a monopoly is secured. See Brooke Grp. Ltd. v.

Brown & Williamson Tobacco Corp., 509 U.S. 209, 222–24 (1993) (“Recoupment is the ultimate

object of an unlawful predatory pricing scheme; it is the means by which a predator profits from

predation.”). To hold a competitor liable for predatory pricing, a plaintiff must prove (1) that “the

prices complained of are below . . . its rival’s costs,” and (2) that the rival had “a dangerous

probability[] of recouping its investment in below-cost prices.” Id.; see Am. Acad. Suppliers, Inc.

v. Beckley-Cardy, Inc., 922 F.2d 1317, 1319 (7th Cir. 1991) (“The plaintiff must . . . show that the

defendant’s lower prices today presage higher, monopolistic prices tomorrow.”).




                                                 12

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 13 of 35 PageID #:2690




        To be considered a predatory pricing scheme, price must be the predominate method of

exclusion. ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 275 (3d Cir. 2012). 10 Surescripts, for

its part, characterizes the SAC as alleging that price is the principal means used by Surescripts to

foreclose competition. That characterization, however, is off the mark. Nowhere in the complaint

do the Pharmacies allege that Surescripts’ prices are now, or ever were, too low. To the contrary,

they allege Surescripts’ prices are approximately nine times higher than what a competitive market

would allow. See SAC ¶¶ 107, 111–13, 239. Surescripts’ prices, then, as high as they allegedly

are, would tend to invite competition, not exclude it. The predatory pricing rubric is therefore

inappropriate here.

        The Pharmacies do allege that “there was no price that [competitors] could offer that would

reduce [a pharmacy’s] total routing costs because of the Surescripts[] loyalty scheme.” Id. ¶ 202.

Citing this statement, Surescripts proclaims “[t]he crux of plaintiffs’ claim is that Surescripts’ low

pricing injured competition.” S-MTD at 17. But the complaint is clear that competition is only

injured “because of the Surescripts[] loyalty scheme,” not because of Surescripts’ transaction

prices standing alone. SAC ¶ 202; see id. ¶ 113 (“To prevent competition that would lead to lower

prices, Surescripts substantially raised nearly all its customers’ costs to >HဩSUHVFULEH@ . . . .”)



                                 
        10
           Expounding on this principle from ZF Meritor, the Third Circuit in Eisai, Inc. v. Sanofi
Aventis U.S., LLC explains that “pricing [usually] predominates over other means of exclusivity
. . . when a firm uses a single-product loyalty discount or rebate to compete with similar products.”
821 F.3d 394, 409 (3d Cir. 2016) (emphasis added). Surescripts points to this comment to claim
the price-cost test must be applied here. S-MTD at 19. However, the “loyalty discount[s]” the Eisai
Court was referring to were those that lower prices to at or below the competitive market rate, not
discounts which, like here, merely lower supracompetitive prices to less supracompetitive ones.
See Eisai, 821 F.3d at 409 (referencing “equally efficient competitor[s]” to imply the discussed
discounted prices are market rate). Moreover, the Eisai Court expressly distinguished the pricing
program at issue with the pricing program in ZF Meritor, which (unlike the Eisai program)
required customers “to repay all contractual savings” if they violated the terms of the program. Id.
at 406–07. Thus, Eisai does not benefit Surescripts’ position.

                                                 13

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 14 of 35 PageID #:2691




(emphasis added). That scheme, at its most basic, provides preferential pricing to pharmacies that

exclusively use Surescripts. See id. ¶¶ 122–31, 229–30. And alleging that total aggregate

e-prescription costs would be lower for pharmacies offered Surescripts’ loyalty rate compared to

those offered Surescripts’ non-loyalty rate is much different than alleging that Surescripts’ per

transaction price is lower than that offered by competitors. Predatory pricing concerns below-

market prices, not pricing disparities a monopolist creates among its own customers. Even with

Surescripts’ loyalty “discount,” its price for e-prescribing is still allegedly well above market. See

id. ¶¶ 126, 239. Thus, Surescripts’ characterization of this case as a species of predatory pricing is

not persuasive.

        B.        Exclusive Dealing

        Exclusive dealing describes the alleged monopolizing conduct with more accuracy. “An

exclusive dealing contract obliges a firm to obtain its inputs from a single source.” Paddock

Publications, Inc. v. Chi. Trib. Co., 103 F.3d 42, 46 (7th Cir. 1996). Courts appraise such

agreements via the so-called “rule of reason.” Dos Santos v. Columbus-Cuneo-Cabrini Med. Ctr.,

684 F.2d 1346, 1352 (7th Cir. 1982). “Under this rule, the factfinder weighs all of the

circumstances of a case in deciding whether a restrictive practice should be prohibited as imposing

an unreasonable restraint on competition.” Cont’l T. V., Inc. v. GTE Sylvania Inc., 433 U.S. 36, 50

(1977). Appropriate factors include specific information about the relevant business, including

whether the businesses involved have market power, and the restraint’s history, nature, and effect.

Leegin Creative Leather Prod., Inc. v. PSKS, Inc., 551 U.S. 877, 885 (2007). In practical

application of the rule of reason—given the procompetitive advantages exclusive deals often

provide—exclusive dealing arrangements do not violate antitrust laws “unless the court believes

it probable that performance of the contract will foreclose competition in a substantial share of the



                                                 14

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 15 of 35 PageID #:2692




line of commerce affected.” Tampa Electric Co. v. Nashville Coal Co., 365 U.S. 320, 327 (1961);

see Standard Oil Co. of Cal. v. United States, 337 U.S. 293, 306–07 (1949) (describing

procompetitive advantages of exclusive deals); see also, e.g., Roland Mach. Co. v. Dresser Indus.,

Inc., 749 F.2d 380, 395 (7th Cir. 1984) (exclusive dealing eliminates divided loyalties and reduces

free riding). Because this overall analysis is fact-intensive, “it is typically considered an ‘adequate

pleading in a rule of reason antitrust case’ for a plaintiff to allege (1) ‘evidence of market structure’

. . . and (2) ‘exclusionary effect’ . . . [to] indicate that an antitrust violation is plausible.” Viamedia,

Inc. v. Comcast Corp., 951 F.3d 429, 462 (7th Cir. 2020) (quoting Herbert Hovenkamp, The Rule

of Reason, 70 Fla. L. Rev. 81, 90 (2018)).

        Here, to reiterate, Surescripts does not challenge any allegations of market structure. And

given the Pharmacies’ allegations of exclusionary effect, it is plausible that Surescripts’ loyalty

scheme unreasonably restrains competition to foreclose a substantial share of the e-prescribing

market (and is therefore illegal monopolization). The thrust of the Pharmacies’ complaint is that

Surescripts uses loyalty pricing deals to deny competitors entry into the e-prescribing market,

thereby permitting Surescripts to charge pharmacies supracompetitive e-prescribing fees. A review

of the incentives at play will help illustrate how these deals could plausibly manipulate the

e-prescribing market to exclude competitors.

        The value of an e-prescribing network is its ability to connect doctors with pharmacies.

Pharmacies pay for this service because their commercial viability depends on the receipt of

prescriptions. SAC ¶¶ 45–47. Doctors, on the other hand, have no intrinsic need for

e-prescribing—a piece of paper would suffice. 11 To get doctors to participate, e-prescribing firms



                             
        11
         This is admittedly reductive. For various reasons, e-prescribing may be more appealing
to doctors than the traditional method of prescribing. Aside from providing the means to
                                                    15

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 16 of 35 PageID #:2693




offer doctors incentive payments (subsidized by fees charged to pharmacies) for each time they

use the firm’s network to transmit a prescription. Id. Thus, both doctors and pharmacies are

incentivized to establish as many doctor-to-pharmacy e-prescribing connections as possible. For

pharmacies, it increases the opportunities to receive prescriptions; for doctors, it increases the

opportunities to earn incentive payments. Id. Naturally, then, save for other extrinsic factors, it is

in the self-interest of both doctors and pharmacies to use as many e-prescribing networks as the

market provides. For instance, if a particular pharmacy cannot be accessed via one network, a

doctor will simply use another network to which that pharmacy is connected. And if this pharmacy

happens to be on multiple networks, the doctor will likely use the network that offers the best

incentive payments. The corollary is true for pharmacies; they will presumably choose the lowest

cost e-prescribing provider when multiple networks are available.

        Surescripts’ loyalty pricing program alters this calculus. It offers doctors a new choice:

either (1) maximize doctor-to-pharmacy connections by using multiple e-prescribing networks

while earning Surescripts’ non-loyalty incentive payments every time Surescripts’ network is used,

or (2) use only Surescripts’ network and receive a higher loyalty incentive payment on each

transaction. See id. ¶¶ 119–36. The second option limits the number of pharmacies a doctor can

connect with (because not every pharmacy is a Surescripts customer), although the doctor may

still reap greater total incentive payments on fewer transactions. To illustrate how this result may

plausibly occur, imagine Surescripts pays a doctor’s office 6¢ each time a prescription is sent via

Surescripts’ network but pays it 8¢ per transaction if the doctor never uses a competitor’s network.

Those competing networks offer doctors a better, going rate, of say 10¢ per transaction. Now also



                               
electronically generate and transmit prescriptions, e-prescribing may enhance patient care,
increase administrative efficiency, and reduce medication errors. SAC ¶¶ 30–31.

                                                 16

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 17 of 35 PageID #:2694




imagine that 80 out of 100 pharmacies are connected exclusively to Surescripts’ network, 10 are

connected only to a Surescripts competitor, and 10 are connected to both. The first option—the

non-loyal option—would yield a doctor $6.80 (80×6¢ + 20×10¢) in total incentive payments, while

the second option—the loyalty option—would yield $7.20 (90×8¢ + 0×10¢) even though 10 fewer

prescriptions could be electronically routed. 12

        But why would 80 out of 100 pharmacies choose to limit themselves to Surescripts’

network? As discussed above, it is in pharmacies’ self-interest to connect to multiple networks as

means to maximize their connections to doctors and thereby maximize their opportunities to

receive prescriptions. The answer is unsurprising: Surescripts offers the same loyalty choice to

pharmacies. Pharmacies can either (1) pay Surescripts’ non-loyalty e-prescribing fees to use

Surescripts’ network while paying a competitor’s lower, market-rate fees to connect to any doctor

which can be found on another network, or (2) pay Surescripts’ loyalty fees to use Surescripts’

network but forego any off-network connections. See id. Again, depending on the number of

doctors exclusively found on Surescripts’ network, pharmacies may be economically justified in

choosing the loyalty option even though Surescripts’ loyalty pricing is higher than the market rate.




                                
        12
          The prices in the foregoing example are used for illustration only; the Pharmacies do not
allege rates for doctor-side incentive payments. They do, however, allege rates for pharmacy-side
fees. As an approximation, the loyalty rate paid by pharmacies is 17¢, SAC ¶¶ 10, 107; the non-
loyalty rate is around 20¢, see id. ¶¶ 69–70, 82–88, 126; and the market rate is about 3¢, id. ¶¶ 8,
10, 157; while the pharmacy-side market shares reflect the aforementioned 80-10-10 split, id. ¶¶
221, 225. Applying these figures instead of those used in the hypothetical would result in similar
market incentives: a pharmacy incurs greater costs via the non-loyalty option (80×20¢ + 20×3¢ =
$16.60) than the loyalty option (90×17¢ + 0×3¢ = $15.30). An issue with this pharmacy-side
calculation, however, is that it does not account for the downstream costs (i.e., the resultant
business lost) pharmacies incur by foregoing 10 out of 100 e-prescribing connections. Such a
figure cannot be reasonably teased from the Pharmacies’ complaint. The overall point remains the
same, however: it is plausible that Surescripts’ pricing scheme perverts market incentives in a
manner that excludes rivals on some basis other than efficiency.

                                                   17

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 18 of 35 PageID #:2695




        For doctors, choosing the loyalty option is not economically justified unless a critical mass

of pharmacies also choose the loyalty option; and at the same time, pharmacies are not justified in

choosing the loyalty option unless a critical mass of doctors do as well. See id. Applying the above

hypothetical rates, it would not be economically justified for a doctor to choose the loyalty option

unless 70% or more of pharmacies already have (70×6¢ + 30×10¢ = $7.20). This reveals two things

about Surescripts’ loyalty scheme: First, it only works if Surescripts is already dominant in the

market and thus it is not a tactic available to smaller competitors. This fact, at the very least, divests

Surescripts’ loyalty scheme of any presumption of legality it otherwise may have been afforded.

See William Holmes & Melissa Mangiaracina, Antitrust Law Handbook § 3:5 (2021) (identifying

throughout section 2 jurisprudence a shared “reluctance to penalize a dominant firm for engaging

in the same market behavior lawfully available to its smaller rivals, simply because it happens to

be dominant”). And second, once that dominance is achieved, the loyalty scheme becomes a self-

reinforcing barrier to entry for smaller competitors.

        Achieving critical mass is, to be sure, a barrier to entry for start-ups in many two-sided

markets. See Ohio v. Am. Express Co., 138 S. Ct. 2274, 2280–81 (2018) (“[T]wo-sided platforms

often exhibit what economists call ‘indirect network effects.’ Indirect network effects exist where

the value of the two-sided platform to one group of participants depends on how many members

of a different group participate.”) (citations removed). The added consideration here—and one that

connotes illegal monopolization—is that Surescripts has used those barriers to charge

supracompetitive prices and restrict the market’s overall number of connections. See Ball Mem’l

Hosp., Inc. v. Mut. Hosp. Ins., Inc., 784 F.2d 1325, 1334 (7th Cir. 1986) (naming “higher prices”

and “lower output” as “the principal vices proscribed by the antitrust laws”). Ultimately, according

to the Pharmacies, patients end up paying more for their prescriptions than they otherwise should.



                                                   18

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 19 of 35 PageID #:2696




Hence, this case is not one where Surescripts’ loyalty discounts are used to undercut competitors

in a price war. Cf. Concord Boat Corp. v. Brunswick Corp., 207 F.3d 1039, 1060–63 (8th Cir.

2000) (single-product loyalty discounts on boat engines priced below competitors but above

defendant’s average variable cost are not anticompetitive). Here, a Surescripts competitor has the

ability to undercut Surescripts by charging market rate prices; but as the above example has

illustrated, Surescripts’ loyalty scheme may create a net detriment for any individual pharmacy

that accepts the competitor’s better offer. See SAC ¶ 206 (quoting Surescripts’ description of its

scheme: “[A competitor] can undercut Surescripts on price, but only on a margin of volume . . .

and Surescripts pricing differential on [the] pharmacy side and loyalty incentive program on [the

doctor] side are worth more than [the competitor’s] proposition on <10% of [prescriptions].”).

Essentially, the scheme presents Surescripts customers with a prisoner’s dilemma in which the

rational choice for each individual pharmacy is to exclusively use Surescripts despite incurring a

detriment (i.e., higher market prices) to their collective interest.

        The “clawback” provision of Surescripts’ loyalty scheme greatly amplifies the scheme’s

exclusionary effect. That provision requires any loyal doctor or pharmacy who wishes to start

using a competitor network to repay, respectively, any “bonuses” or “discounts” it received as a

loyal customer. See SAC ¶¶ 119–36. A once-loyal pharmacy that begins using a competitor

network would not only start incurring Surescripts’ higher, non-loyalty price, but it would also

retroactively incur the difference between the loyalty and non-loyalty rate for all the transactions

it made with Surescripts since the start of its loyalty arrangement. See id. This “penalty,” as the

Pharmacies describe it, only further disincentivizes switching to a competitor. 13


                              
        13
         Assume the hypothetical discussed previously represents the incentive payments a doctor
could earn over the course of six months by choosing either the loyalty option ($7.20) or the non-
loyalty option ($6.80). In order for an e-prescribing firm to compete with Surescripts on these
                                                  19

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 20 of 35 PageID #:2697




        Taken together, Surescripts’ loyalty scheme and its alleged effects on competitors and

consumers do not pass scrutiny under the rule of reason—or, more precisely, the Pharmacies have

sufficiently alleged they do not. The Pharmacies have also sufficiently alleged (and Surescripts

does not contest), in accordance with Tampa Electric, 365 U.S. at 327, that the scheme

“foreclose[s] competition in a substantial share” of the e-prescribing market. See SAC ¶¶ 225–26

(Surescripts’ exclusive dealing arrangements are “imposed on nearly 80%” of both the doctor and

pharmacy side of the e-prescribing market). It is plausible, then, that Surescripts’ loyalty scheme

represents anticompetitive exclusive dealing. In a factually identical suit brought against

Surescripts by the Federal Trade Commission for the same conduct, the United States District

Court for the District of Columbia came to the same conclusion. See Fed. Trade Comm’n v.

Surescripts, LLC, 424 F. Supp. 3d 92, 100–04 (D.D.C. 2020) (“[O]n both sides of the market,

Surescripts stood to gain above-market returns, charging higher fees and paying out lower

incentives than its competitors.”).

        The counterarguments Surescripts offers are unavailing. Surescripts characterizes its

loyalty arrangements as “simply offer[ing] better prices to customers.” S-MTD at 17. This begs

the question: better than what? Not better than the market rate for e-prescribing services. The SAC

alleges that the loyalty prices are supracompetitive and are better only than the even-higher

supracompetitive prices Surescripts can impose (given its monopoly power) on any pharmacy who

declines the loyalty rate.

                              
terms, it would have to raise its incentive payments above the market rate, say from 10¢ to 12¢
(80×6¢ + 20×12¢ = $7.20). Now imagine a doctor is presented with the same choice for the second
half of a year but had already chosen the loyalty option for the first half. Given Surescripts’
clawback provision, the non-loyalty option would require the doctor to payback the bonus
incentive payments it earned over the previous half year (90×2¢ = $1.80). Thus, to entice a doctor
to abandon Surescripts, an e-prescribing competitor would have to raise its incentive payments
even further, from 10¢ to 21¢ (80×6¢ + 20×21¢ = $9.00 = $7.20 + $1.80).

                                                20

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 21 of 35 PageID #:2698




        Surescripts also contends its loyalty arrangements are categorically not exclusive deals

(and thus a rule of reason analysis is inapposite) because they do not “require[] any customer to be

exclusive to Surescripts.” Id. Technically that may be true: the SAC does not allege that doctors

or pharmacies are contractually required to use Surescripts’ network exclusively. However, an

arrangement is “proscribed” notwithstanding the absence of “specific agreements not to use the

. . . competitor” so long as its “practical effect” is to “prevent a lessee or buyer from using . . . a

competitor.” Tampa Elec., 365 U.S. at 326–27 (internal quotations omitted).

        In ZF Meritor, LLC v. Eaton Corp., for instance, the Third Circuit considered whether

“long-term agreements” used by a dominant supplier in the heavy-duty truck transmissions market

were anticompetitive. 696 F.3d 254, 263 (3d Cir. 2012). Those agreements were similar to the

exclusive dealing arrangements here: they offered rebates to truck manufacturers only if those

manufacturers purchased a specified percentage (between 70% and 90%) of its requirements from

the supplier, they required repayment of all received rebates anytime a manufacturer failed to meet

its percentage target, and they priced transmissions (rebate included) above the supplier’s cost. Id.

at 265. The Third Circuit first noted that above-cost pricing practices are not per se legal, id. at

278, and then conducted an exclusive dealing rule of reason analysis, observing “that an express

exclusivity requirement is not necessary because de facto exclusive dealing may be unlawful.” Id.

at 282 (citing Tampa Elec., 365 U.S. at 326). Turning to the facts, the Third Circuit reasoned that

because of the defendant’s “position as the dominant supplier, no [manufacturer] could satisfy

customer demand without at least some [of the defendant’s] products, and therefore no

[manufacturer] could afford to lose [the defendant] as a supplier.” Id. at 283. This type of market

pressure, the court concluded, was akin to anticompetitive exclusive dealing: “Where, as here, a

dominant supplier enters into de facto exclusive dealing arrangements with every customer in the



                                                  21

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 22 of 35 PageID #:2699




market, other firms may be driven out not because they cannot compete on a price basis, but

because they are never given an opportunity to compete, despite their ability to offer products with

significant customer demand.” Id. at 281.

        The same conditions present in ZF Meritor are present here, and for the same reasons,

Surescripts’ “optional low pricing” deals, coupled with the loyalty pricing clawback provision,

may be considered de facto exclusive deals. The bottom line is that the SAC plausibly alleges that,

by means of those de facto exclusive deals, Surescripts has exploited its monopoly position to

foreclose competition in the e-prescription market. Accordingly, Surescripts’ motion to dismiss

the Pharmacies’ monopolization claim (Counts I and V) is denied.

III.    Conspiracy to Monopolize (Surescripts and RelayHealth)

        Alongside unlawful monopolization, it is an offense under section 2 of the Sherman Act to

“combine or conspire with any other person or persons” to monopolize. 15 U.S.C. § 2. The

Pharmacies claim Surescripts conspired with RelayHealth, a health information technology

company. SAC ¶¶ 141–42. The Pharmacies’ allegations center on a non-compete agreement

Surescripts signed with RelayHealth in 2003 and renewed in 2010 and 2015. Id. ¶¶ 144, 146.

        In 2003, RelayHealth contracted with Surescripts to resell access to Surescripts’ network

under the RelayHealth brand. Id. ¶ 142. For this purpose, Surescripts offered RelayHealth a

“wholesale” per transaction rate that was slightly discounted from the rate charged pharmacies. Id.

¶ 145. In return, RelayHealth agreed not to create its own e-prescribing network to compete with

that of Surescripts. Id. ¶ 144. When this contract renewed in 2010, a clause was added requiring

RelayHealth to use “commercially reasonable efforts” to secure exclusivity with pharmacies and

to enforce Surescripts’ “clawback” provision. Id. ¶¶ 160, 163. To incentivize RelayHealth in this

effort, Surescripts offered RelayHealth a larger discount on its wholesale price for transactions



                                                22

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 23 of 35 PageID #:2700




RelayHealth sold to loyal pharmacies. Id. ¶ 161. The 2010 contract also gave RelayHealth a cut of

the incentive payments offered to doctors whenever RelayHealth secured exclusive dealing

arrangements with them. Id. ¶ 162. Finally, in 2015, the contract renewed again but this time

required RelayHealth to transition its loyal doctor relationships directly to Surescripts in exchange

for an even greater wholesale discount on the network transactions RelayHealth resold to

pharmacies. Id. ¶ 167.

        “For conspiracy to monopolize the plaintiff must prove 1) the existence of a combination

or conspiracy, 2) overt acts in furtherance of the conspiracy, 3) an effect upon a substantial amount

of interstate commerce and 4) the existence of specific intent to monopolize.” Great Escape, Inc.

v. Union City Body Co., 791 F.2d 532, 540–41 (7th Cir. 1986). Of these elements, Surescripts’

seriously argues only that the Pharmacies fail to allege specific intent. 14 Specific intent to

monopolize may be inferred from “conduct that is in itself an independent violation of the antitrust

laws or that has no legitimate business justification other than to destroy or damage competition.”

                                
        14
           Surescripts also argues that the Pharmacies fail to allege the existence of a conspiracy.
The alleged contracts between Surescripts and RelayHealth would constitute direct evidence of a
conspiracy and are therefore sufficient. See Am. Tobacco Co. v. United States, 328 U.S. 781, 810
(1946) (A conspiracy is established by circumstances showing “a unity of purpose or a common
design and understanding, or a meeting of minds . . . .”). Remarkably, Surescripts contends the
Pharmacies “affirmatively admit” that the contracts do not constitute a conspiracy. S-MTD at 20
(citing SAC ¶ 292). Surescripts points to the following sentence in the Pharmacies’ complaint: “In
addition to agreeing to . . . contracts in restraint of trade with Surescripts, RelayHealth conspired
with Surescripts to unlawfully maintain Surescripts’ monopoly . . . .” SAC ¶ 292 (emphasis added).
Surescripts reads the “in addition to” phrase to mean that RelayHealth’s contractual agreement
was wholly separate from whatever the Pharmacies are claiming constitutes the conspiracy.
Surescripts then highlights that no facts apart from those relating to the RelayHealth contracts
connote a conspiracy. At the pleading stage, however, plaintiffs are afforded reasonable inferences
in their favor, Iqbal, 556 U.S. at 678; and Surescripts’ strained reading of the complaint is neither
favorable to the plaintiffs nor reasonable. Any ambiguity in the relied-upon sentence is alleviated
just a few paragraphs later when the Pharmacies make clear that the RelayHealth contracts are
central to the conspiracy claim: “By engaging in the foregoing conduct [contracting], Surescripts
and RelayHealth have intentionally and wrongfully conspired to monopolize in violation of the
Sherman Act.” SAC ¶ 296.

                                                 23

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 24 of 35 PageID #:2701




Id. “[T]he mere intention to exclude competition and to expand one’s own business is not

sufficient . . . .” Id.

         Here, the complaint plausibly imputes to both Surescripts and RelayHealth a specific intent

to monopolize. From Surescripts’ perspective, the only justification for contracting with

RelayHealth was to eliminate RelayHealth as a potential competitor. See SAC ¶ 158–59, 164

(quoting various internal documents). 15 RelayHealth—a division of McKesson Technologies Inc.,

id. ¶ 25—was naturally poised to enter the e-prescribing market. See id. ¶ 170 (quoting a

Surescripts competition analysis which labeled RelayHealth as a “Direct Competitor” with “the

assets and know-how to be a threat”). It already had experience operating in an adjacent “claims

adjudication” market (which involves the routing of bills from pharmacies to patients’ healthcare

insurer). Id. ¶ 154. And it had ample resources available from its parent company, McKesson

Corporation. See id. ¶ 149 (noting McKesson ranked 15th on the Fortune 500 list in 2008,

generating $102 billion in total revenue within the broader healthcare products and services

industry). Most importantly, RelayHealth already had established a significant number of direct

business relationships with doctors and pharmacies. Id. ¶¶ 150, 152–53, 155. By leveraging these

relationships along with those provided to it indirectly by McKesson, RelayHealth posed a credible

threat to enter the e-prescribing market with the critical mass needed to disrupt Surescripts’ hold

over it. Id. ¶ 155. This quality made RelayHealth unique among Surescripts’ competitors. Id.




                             
         15
         RelayHealth internal documents claim “Surescripts’s ‘dominant contracting strategy . . .
was to prevent RelayHealth from competing with Surescripts.’” SAC ¶ 158 (cleaned up). A 2012
executive memo from Surescripts “explicitly stated, ‘our [RelayHealth] contract prevents them
from competing against us for core e-prescribing Routing.’” Id. ¶ 159 (cleaned up). A Surescripts
executive was quoted in 2013 as stating that “the only benefit it received from the 2010 contract
with RelayHealth was that the contract ‘helped keep market share.’” Id. ¶ 164 (cleaned up).

                                                 24

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 25 of 35 PageID #:2702




        In recognition of the above, Surescripts viewed RelayHealth as a market threat. See id.

¶¶ 148, 150–51, 158. And the SAC alleges plausibly that it was for this reason, and only this

reason, that Surescripts entered into its non-compete agreements with RelayHealth: “As early as

December 2008, Surescripts’s documents characterized its relationship with RelayHealth as

adding very little, if any, value to e-prescribing and described RelayHealth as a ‘value subtract,’

writing that ‘the only real value that we are getting out of the RelayHealth relationship at this point

is the exclusivity.’” Id. ¶ 164. Thus, because Surescripts’ only purpose in contracting with

RelayHealth was to eliminate competition, the “value subtract” contracts it entered into plausibly

imply a specific intent to monopolize.

        Evidence of specific intent on the part of RelayHealth is not as patent but may nevertheless

be reasonably inferred. Unlike the allegations attributable to Surescripts, the complaint alleges no

direct evidence of RelayHealth’s motivations. The complaint does, however, describe the business

opportunity RelayHealth abandoned through its agreement not to compete with Surescripts. Given

RelayHealth’s relevant experience and business connections coupled with McKesson’s funding,

the Pharmacies allege that RelayHealth was in a position to enter the e-prescribing market offering

prices at one-tenth of Surescripts’. Id. ¶ 156–57. This arguably would be a lucrative opportunity

given Surescripts’ market share. Instead, RelayHealth chose to help Surescripts secure exclusive

deals in exchange for a commission. In light of the market dominance required to make

Surescripts’ loyalty scheme work, RelayHealth’s willingness to forego other ripe competitive

opportunities to profit from Surescripts’ scheme connotes an intent to perpetuate that scheme’s

necessary precondition, i.e., Surescripts’ monopoly. This conclusion is bolstered by the fact that

RelayHealth was no small partner; the Pharmacies allege that RelayHealth was helping to facilitate

50% of Surescripts’ pharmacy connections and 40% of its doctor connections by 2009. Id. ¶ 155.



                                                  25

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 26 of 35 PageID #:2703




        Contesting this conclusion, Surescripts cites a number of cases standing for the proposition

that it is unreasonable to infer specific intent to monopolize when such intent would be irrational

or against the alleged-conspirator’s economic self-interest. See Truck-Rail Handling, Inc. v.

Burlington N. & Santa Fe Ry. Co., 244 F. App’x 130, 132 (9th Cir. 2007) (unreasonable to infer

that railroad would conspire to provide transloaders with monopoly power over transload terminals

when logical result would be an increase in transloading rates paid by railroads); TV Commc’ns

Network, Inc. v. Turner Network Television, Inc., 964 F.2d 1022, 1026–27 (10th Cir. 1992)

(implausible for cable operators to conspire with TNT, Inc. to monopolize the market for the TNT

Channel when the channel was essential to the cable operators’ business and a monopoly over it

would force them to pay supracompetitive prices); In re Microsoft Corp. Antitrust Litig., 127 F.

Supp. 2d 728, 731–32 (D. Md. 2001), aff’d sub nom. Dickson v. Microsoft Corp., 309 F.3d 193

(4th Cir. 2002) (irrational to infer computer manufacturers intended to monopolize software

market when they were required to purchase software for installation in the computers they

manufactured); see also Car Carriers, Inc. v. Ford Motor Co., 745 F.2d 1101, 1109 (7th Cir. 1984)

(allegations that the defendant “in essence . . . conspired to injure itself” are “inherently

implausible”). Surescripts similarly claims that inferring specific intent here is irrational because

RelayHealth is Surescripts’ customer and RelayHealth would not conspire to assist Surescripts’

monopoly when the result would be higher e-prescribing prices for RelayHealth and RelayHealth’s

own customers. S-MTD at 21.

        The flaw in Surescripts’ argument is that it misconstrues RelayHealth’s status as it is

alleged in the SAC. RelayHealth is not alleged to be Surescripts’ customer but rather Surescripts’

potential-competitor-turned-partner. Surescripts’ non-compete agreement vested RelayHealth

with a financial interest in securing for Surescripts exclusive dealing arrangements with



                                                 26

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 27 of 35 PageID #:2704




pharmacies and doctors. These financial incentives would materialize for RelayHealth only if

Surescripts maintained a dominant hold over the market (in other words, only if Surescripts

achieved the critical mass necessary to justify pharmacies and doctors in choosing the loyalty

option). Thus, on the face of the complaint, it is plausible to infer that RelayHealth intended for

Surescripts to monopolize: it was being paid by Surescripts with a cut of Surescripts’ monopoly

profits to sit on the sideline rather than compete and drive down prices. In that light, the deals

between Surescripts and RelayHealth are premised on the same logic that animates price fixing or

market allocation schemes—that is, it is better to divide a bigger pie of monopoly profits by

agreement than to compete to win a larger share of a smaller pie of competitive profits. Other

legitimate business justifications for RelayHealth’s actions may come to light, but the Pharmacies

have currently met their burden to plausibly allege a conspiracy to monopolize between Surescripts

and RelayHealth. See generally Wagner v. Magellan Health Servs., Inc., 121 F. Supp. 2d 673, 681

(N.D. Ill. 2000) (“Courts are wary to dismiss antitrust cases on intent solely on the pleadings

because evidence of intent is often in the control of the defendants.”). Surescripts’ motion to

dismiss the Pharmacies’ conspiracy to monopolize claim (Counts II and VI) is denied.

IV.     Conspiracy in Restraint of Trade (Surescripts and RelayHealth)

        Based on the foregoing conduct, the Pharmacies also assert a claim against Surescripts and

RelayHealth for conspiring in restraint of trade. Section 1 of the Sherman Act declares “[e]very

contract, combination . . . or conspiracy[] in restraint of trade” illegal. 15 U.S.C. § 1. 16 Although



                               
        16
          The distinction among the terms contracts, combinations, and conspiracies in section 1
is unimportant. United States v. Nunez, 673 F.3d 661, 664 (7th Cir. 2012). A “‘conspiracy’ in
section 1 is simply a pejorative term for a contract, both ‘conspiracy’ and ‘contract’ signifying an
agreement, a meeting of minds.” Id. “Courts use the words ‘contract,’ ‘combination,’ and
‘conspiracy’ interchangeably.” Procaps S.A. v. Patheon, Inc., 845 F.3d 1072, 1080 (11th Cir.
2016) (quoting Tidmore Oil Co., Inc. v. BP Oil Co., 932 F.2d 1384, 1388 (11th Cir. 1991)).

                                                 27

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 28 of 35 PageID #:2705




a section 1 conspiracy in restraint of trade and a section 2 conspiracy to monopolize may be

“reciprocally distinguishable from and independent of each other” whenever their objectives

differ, Am. Tobacco Co. v. United States, 328 U.S. 781, 788 (1946); here, the alleged conspiracies

are entirely coterminous. Given this condition, courts routinely apply the same analysis to both

claims. See, e.g., Nynex Corp. v. Discon, 525 U.S. 128, 139 (1998); Howard Hess Dental Labs.

Inc. v. Dentsply Int’l, Inc., 602 F.3d 237, 254 (3d Cir. 2010); Dickson v. Microsoft Corp., 309 F.3d

193, 211 (4th Cir. 2002); Stewart Glass & Mirror, Inc. v. U.S. Auto Glass Disc. Ctrs., Inc., 200

F.3d 307, 316 (5th Cir. 2000); Weit v. Cont’l Ill. Nat. Bank & Tr. Co. of Chi., 641 F.2d 457, 458

(7th Cir. 1981); Hackman v. Dickerson Realtors, Inc., 520 F. Supp. 2d 954, 968 (N.D. Ill. 2007);

see also United States v. Griffith, 334 U.S. 100, 106 (1948) (exploring the relationship between

section 1 and section 2 claims), overruled on other grounds by Copperweld Corp. v. Indep. Tube

Corp., 467 U.S. 752, 763 n.8 (1984).

        The only analytical distinction between overlapping section 1 and section 2 conspiracy

claims is that the sections 2 version includes the additional requirement that the conspiracy to be

formed with the specific intent to obtain or maintain a monopoly. Seagood Trading Corp. v.

Jerrico, Inc., 924 F.2d 1555, 1576 (11th Cir. 1991); Wagner v. Magellan Health Servs., Inc., 121

F. Supp. 2d 673, 681 (N.D. Ill. 2000). Thus, having already determined that the Pharmacies’

section 2 claim survives, the logical consequence is that their section 1 claim does as well. See

Richard A. Posner, Antitrust Law: An Economic Perspective 216 (1976) (“As for conspiracy to

monopolize, any such conspiracy is also a conspiracy in restraint of trade . . . .”).

        Although Surescripts contests only the specific intent element of the section 2 conspiracy

claim, in the context of the section 1 conspiracy claim, Surescripts further argues that the alleged

non-compete agreement with RelayHealth is not plausibly unlawful under the rule of reason.



                                                  28

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 29 of 35 PageID #:2706




S-MTD at 24. 17 As has been discussed, however, it is plausible the non-compete agreement was

entered into with the intent to further or maintain Surescripts’ monopoly. See part III. The

Pharmacies have also adequately claimed the agreement had this intended effect, and therefore, it

is, as alleged, an unreasonable restraint of trade. See id.; see, e.g., SAC ¶ 164 (“Surescripts’

executives stated the only benefit it received from the 2010 contract with RelayHealth was that the

contract ‘helped keep market share.’”). The potential procompetitive aspects of the non-compete

agreement that Surescripts points to (i.e., the “co-develop[ment] [of] an initial list of 27 different

value-added services”) do not alone demand a different conclusion. See S-MTD at 23–24 (quoting

SAC ¶ 245); see also SAC ¶¶ 246–47 (“Not one Surescripts-RelayHealth value-added product or

service resulted from the 2010 contract[] . . . [or] the 2015 contract.”). Surescripts’ motion to

dismiss the Pharmacies’ conspiracy in restraint of trade claim (Counts III and VII) is therefore

denied.

V.        Conspiracy in Restraint of Trade (Surescripts and Allscripts)

          Finally, the Pharmacies also claim that Surescripts conspired in restraint of trade with

Defendant Allscripts Healthcare Solutions, Inc.. This claim too survives.

          Allscripts is an electronic health records provider. Doctors generally rely on electronic

health records software to—among other things—interface with e-prescribing networks. SAC

¶¶ 2, 30. In 2009, doctors using Allscripts’ software represented 25% of Surescripts’ doctor-side

customers. Id. ¶ 172. Importantly, at that time, Allscripts also allowed these doctors to connect to

Emdeon, an e-prescription provider and an emerging threat to Surescripts’ dominance. Id.

                             
          17
          The characterization of RelayHealth as Surescripts’ competitor does not change the
analytical lens through which this claim is viewed. Only “naked” non-compete agreements
between competitors are per se illegal. Polk Bros. v. Forest City Enterprises, Inc., 776 F.2d 185,
188 (7th Cir. 1985). “Ancillary” non-competes—ones that are a part of larger endeavors to
promote new productions or products—are evaluated under the rule of reason. Id. at 188–89.

                                                 29

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 30 of 35 PageID #:2707




        Up until 2010, Allscripts also managed its own e-prescribing network. Id. ¶ 175. This

network, however, did not compete with Surescripts in the market for doctor-to-pharmacy

transmissions (i.e., the “routing” market). Instead, it competed with Surescripts in a separate

market for insurer-to-doctor transmissions (i.e., the “eligibility” market). The eligibility market

involves the transmission of patients’ formulary and pharmaceutical benefit information instead

of prescriptions. Id. ¶¶ 32–33.

        In 2010, Allscripts and Surescripts entered into a contract requiring Allscripts to

exclusively use Surescripts for both routing and eligibility. Id. ¶¶ 179–80. The deal required

Allscripts to abandon Emdeon as a routing provider and to surrender its eligibility business

altogether. Id. ¶¶ 182–83. In exchange, Allscripts received “enhanced” incentive payments

anytime an Allscripts doctor used Surescripts’ network. Id. ¶ 187.

        As the Pharmacies describe it, “Allscripts lamented that it had to enter into this

agreement . . . .” Id. ¶ 186. To Allscripts, Surescripts’ pharmacy and insurer connections made it

a “must-have” e-prescribing vendor. Id. Thus, when Surescripts made its services contingent upon

signing an exclusive deal, Allscripts felt forced to oblige. See id. ¶¶ 186, 192. Surescripts’ contract

also imposed on Allscripts various financial penalties—similar to the clawback provisions

previously described—anytime Allscripts failed to renew the deal. Id. ¶¶ 193–94. Most recently,

in 2015, Allscripts resigned. Id. ¶ 196.

        The effect of Allscripts’ exclusive deal with Surescripts was to “push[] Emdeon almost

completely out of the market.” Id. ¶ 207. Without Allscripts’ doctor connections, Emdeon could

not establish the critical mass necessary to compete with Surescripts. Id. ¶¶ 204, 207–08.

        The rule of reason analysis for exclusive dealing applies with equal force here. See part

II.B (summarizing doctrine). And in all, these allegations plausibly support an inference that



                                                  30

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 31 of 35 PageID #:2708




Surescripts and Allscripts were conspiring to restrain trade for other than pro-competitive

reasons. 18 Allscripts raises two points to contend otherwise. Surescripts echoes the second one.

        A.     Market Power

        First, Allscripts argues the Pharmacies failed to allege it had market power. “Market power

is a necessary ingredient in every case under the Rule of Reason.” Ball Mem’l Hosp., Inc. v. Mut.

Hosp. Ins., Inc., 784 F.2d 1325, 1334 (7th Cir. 1986). Generally, market power is defined as the

ability to raise prices and restrict output. Fortner Enters., Inc. v. U.S. Steel Corp., 394 U.S. 495,

503 (1969). The plaintiff must “prove that the defendant has sufficient market power to restrain

competition substantially. . . . If not, the inquiry is at an end; the practice is lawful.” Gen.

Leaseways, Inc. v. Nat’l Truck Leasing Ass’n, 744 F.2d 588, 596 (7th Cir. 1984).

        Allscripts cites Dickson v. Microsoft Corp., 309 F.3d 193 (4th Cir. 2002), to help make its

point, A-MTD at 8, but that case hurts its cause. In Dickson, the Fourth Circuit considered a claim

that two personal computer manufacturers (Compaq and Dell) conspired with a software developer

(Microsoft) to restrain trade within the market for operating system software. 309 F.3d at 198–99.

The anticompetitive allegations centered on the defendants’ exclusive licensing agreements which

offered Compaq and Dell discounts on and early-access to software in exchange for selling their



                                
        18
          Neither Allscripts nor Surescripts challenge the “combination or conspiracy” element of
the Pharmacies’ section 1 claim. It should be noted, however, that even though the Pharmacies
allege Allscripts only entered into its exclusive dealing arrangement in response to economic
coercion, this is not dispositive. “[A]cquiescence in an illegal scheme is as much a violation of the
Sherman Act as the creation and promotion of one.” United States v. Paramount Pictures, 334
U.S. 131, 161 (1948); see MCM Partners, Inc. v. Andrews-Bartlett & Assocs., Inc., 62 F.3d 967,
973 (7th Cir. 1995) (“[T]he ‘combination or conspiracy’ element of a section 1 violation is not
negated by the fact that one or more of the co-conspirators acted unwillingly, reluctantly, or only
in response to coercion.”).




                                                 31

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 32 of 35 PageID #:2709




personal computers with Microsoft’s operating system (Windows) pre-installed and un-

removeable. Id. at 199–200. The plaintiffs claimed these agreements helped maintain Microsoft’s

monopoly over operating system software. Id. at 200.

        After finding the plaintiffs adequately alleged two vertical conspiracies between the

defendants, the Dickson Court then considered under the rule of reason whether the conspiracies

imposed unreasonable restraints of trade. Id. at 205. It observed that substantial anticompetitive

harm was unlikely unless the alleged facts demonstrate “that the defendants played a significant

role in the relevant market.” Id. at 207 (quoting Oksanen v. Page Mem’l Hosp., 945 F.2d 696, 709

(4th Cir. 1991)). Microsoft’s power in the operating system software market was adequately

alleged, but Compaq’s and Dell’s market power was a different matter. Because neither operated

independently within the operating system software market, their ability to influence competition

in it was dependent on their ability to influence competition in the personal computer market. Id.

at 207 n.18. But in that regard, the plaintiffs conceded that the personal computer market was

“fiercely competitive” and thus conceded that neither Compaq nor Dell had market power. Id. at

207. Because “Compaq and Dell each possessed . . . no ability to control pricing or output in the

[personal computer] market,” their exclusive licensing agreements with Microsoft were incapable

of “substantially reduc[ing] the usage share of . . . rival operating system software manufacturers.”

Id. at 208. Accordingly, the plaintiffs’ claim was dismissed. Id. at 211.

        The holding in Dickson is less instructive for this case than its contrapositive.

Conveniently, the Dickson Court expressed what would have been needed to state a claim:

               For instance, without having alleged Compaq’s or Dell’s power or
               share in the [personal computer] market, [the plaintiffs] [are] unable
               to demonstrate that rival software firms’ access to Compaq or Dell
               was an important component of those firms’ potential ability to
               compete in the software markets, or that Microsoft’s agreements
               with Compaq and Dell substantially hindered the entrance or

                                                 32

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 33 of 35 PageID #:2710




               operation of these rivals in the software markets or denied them
               access to a significant number of consumers of software. Similarly,
               given the failure to allege the market power of Compaq or Dell, [the
               plaintiffs] [are] unable to show that Compaq or Dell has forced, or
               is likely to be able to force, supracompetitive prices on consumers
               for undesirable software features.

Id. at 208 (emphasis in original).

        Here, the Pharmacies allege what the Dickson plaintiffs omitted. They claim Emdeon—a

once-viable Surescripts competitor—could not compete in the routing market without access to

Allscripts’ doctors. The complaint makes clear that Allscripts represented a particularly significant

number of doctors. Along with explicitly alleging this, see, e.g., SAC ¶ 174, the fact that Allscripts

was able to compete directly with Surescripts in the parallel eligibility market also reasonably

implies that it represented a substantial share of doctors. See id. ¶ 175 (quoting a 2009 Surescripts

description of Allscripts as “a major competitor and our largest current risk” in the eligibility

market). And unless Allscripts had its doctor clientele connect to Emdeon’s network, Emdeon

could not obtain the critical mass necessary to surmount the routing market’s barrier to entry. Both

Surescripts and Emdeon, evidently, shared this view. See id. ¶ 174 (quoting a Surescripts executive

email: “the key to Emdeon is Allscripts”); id. ¶ 207 (“Emdeon described [Allscripts’ 2010

agreement with Surescripts] as a ‘devastating’ blow and one that pushed Emdeon almost

completely out of the market.”). The proximate result of Allscripts’ exclusive dealing, then, was

Emdeon’s relegation, which allowed Surescripts to retain its monopoly and provided Allscripts the

ability to impose supracompetitive routing rates on its customers.

        In short, although the Pharmacies have not alleged Allscripts competed directly in the

routing market, because that market requires a certain threshold number of customers before any

e-prescribing firm can start competing, Allscripts’ alleged representation of a significant volume

of customers plausibly implies that it had market power. The Pharmacies allege that Allscripts’


                                                 33

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 34 of 35 PageID #:2711




business was a make-or-break connection for any of Surescripts’ competitors. This is sufficient to

adequately plead market power.

         B.     Substantial Foreclosure

         Aside from market power, both Allscripts and Surescripts argue the Pharmacies have failed

to allege substantial market foreclosure. Per the complaint, Allscripts ostensibly represents only

20% of prescribers within the e-prescribing market. A-MTD at 5 (citing SAC ¶¶ 172, 225). 19 The

conclusion from the defendants is that 20% does not represent substantial foreclosure. Id.; S-MTD

at 25.

         To repeat the canon: “In practical application, even though a contract is found to be an

exclusive-dealing arrangement, it does not violate the section unless the court believes it probable

that performance of the contract will foreclose competition in a substantial share of the line of

commerce affected.” Tampa Elec., 365 U.S. at 327. Various quantitative figures exist in caselaw

for what constitutes substantial foreclosure. For instance, in United States v. Microsoft Corp., on

appeal from a final judgment in favor of the plaintiff, the court noted that foreclosure of a “40%

or 50% share [is] usually required in order to establish a § 1 violation.” 253 F.3d 34, 70 (D.C. Cir.

2001). Likewise, the court in Methodist Health Servs. Corp. v. OSF Healthcare Sys.—a case which

Allscripts cites favorably—observed that “[c]ourts typically require a plaintiff to make an initial

showing of foreclosure . . . in at least 30 to 40 percent of a market to proceed [past summary

judgment].” No. 13-cv-01054-SLD-JEH, 2016 WL 5817176, at *8 (C.D. Ill. Sept. 30, 2016), aff”d,

859 F.3d 408 (7th Cir. 2017).

                               
         19
          The Pharmacies claim Surescripts’ exclusive dealing arrangements generally “foreclose
well over 80% of the [doctor] sides of the routing and eligibility networks from potential
competition”. SAC ¶ 227. They also claim “Allscripts represented approximately 25% of
Surescripts’ routing and eligibility transactions.” Id. ¶ 172. Combining the two figures, Allscripts
argues only 20% of the alleged market foreclosure is attributable to it (25% of 80% equals 20%).

                                                 34

    Case: 1:19-cv-06627 Document #: 212 Filed: 06/21/22 Page 35 of 35 PageID #:2712




          The above figures are not controlling here. The only question at this stage is whether the

“allegations raise a reasonable inference that . . . Defendants’ exclusive-dealing provisions . . .

could foreclose a substantial portion of the . . . market and reduce output.” In re Dealer Mgmt. Sys.

Antitrust Litig., 313 F. Supp. 3d 931, 958 (N.D. Ill. 2018); see In re Ductile Iron Pipe Fittings

Direct Purchaser Antitrust Litig., No. 12-711, 2013 WL 812143, at *19 (D.N.J. Mar. 5, 2013)

(“The question of whether the alleged exclusive dealing arrangements foreclosed a substantial

share of the line of commerce is a merits question not proper for the pleading stage.”). Recall that

it is considered adequate for a plaintiff in a rule of reason case to allege “(1) evidence of market

structure . . . and (2) exclusionary effect (i.e., foreclosure of a competitor from a market) . . . .”

Viamedia, 951 F.3d at 462 (emphasis added). Given the Pharmacies’ extensive allegations

regarding the foreclosure of Emdeon, their complaint is sufficient to state a plausible claim. The

defendants’ motions to dismiss the Pharmacies’ conspiracy in restraint of trade claim (Counts IV

and VIII) is therefore denied.

                                           *      *       *

          For the foregoing reasons, the defendants’ motions to dismiss are denied.




    Date: June 21, 2022                                       John J. Tharp, Jr.
                                                              United States District Judge




                                                  35

